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                                      EXHIBIT B19

                             ROBERT J. BENDITZKY TRUST

15% membership interest in Lone Star Properties #1, LLC
     Owns 3.57% membership interest in TLG Town Oaks, LLC

67.5% membership interest in Lone Star Properties #2, LLC
      Owns 5.36% membership interest in TLG Ashley Park, LLC

32.5% membership interest in Pelican Properties #1, LLC
      Owns 3.41% membership interest in TLG Southfield, LLC

50% membership interest in R & R Investments, LLC
     Owns 100% of 2440 W. Lexington, Chicago, IL

100% membership interest in Stone Creek, LLC
      Owns 4.6% membership interest in Stonecreek Apartments, LLC

50% membership interest in Trident Investing, LLC
     Owns 20% membership interest in TRI-11945 S. Eagleston, LLC

33% membership interest in Trident Equities, LLC
     Owns properties listed on Exhibit B13




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